Case 2:19-cr-20259-DML-DRG ECF No. 139, PageID.919 Filed 06/01/21 Page 1 of 6




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


UNITED STATES OF AMERICA,

             Plaintiff,                      CRIMINAL NO. 19-CR-20259

      v.                                     HON. DAVID M. LAWSON

GEMAR KINTE MORGAN,

          Defendant.
_____________________________________/

  GOVERNMENT=S RESPONSE TO DEFENDANT’S MOTION TO NOTIFY
 THE COURT ABOUT THE UNITED STATES SENTENCING COMMISSION
  POLICIES AND PROCEDURES THAT HAVE BEEN VIOLATED BY THE
                 PROBATION DEPARTMENT [130]

      The United States of America, by its undersigned counsel, submits the following

response to Defendant Gemar Morgan’s Motion to Notify the Court About the United

States Sentencing Commission Policies and Procedures That Have Been Violated by

the Probation Department.

   I. INTRODUCTION

      Defendant Gemar Morgan has filed a pro se Motion to Notify the Court About

the United States Sentencing Commission Policies and Procedures That Have Been

Violated by the Probation Department. [ECF No. 130]. The defendant’s motion is

largely duplicative of a prior motion filed by the defendant that remains pending.
Case 2:19-cr-20259-DML-DRG ECF No. 139, PageID.920 Filed 06/01/21 Page 2 of 6




[ECF No. 127]. Therefore, the Government’s response will likewise be familiar. The

Defendant here argues that the Probation Officer engaged in “schemes, violations, and

abuses,” presumably referring to paragraph 22 of the Presentence Report. [ECF No.

130, PageID. 857]. However, the Presentence Report accurately states the law

pertaining to convictions that qualify as ACCA predicates and this motion should be

denied.

   II. STANDARD OF LAW

      A person qualifies as an armed career criminal if, at the time he violates 18

U.S.C. § 922(g), he “has three previous convictions by any court . . . for a violent

felony or a serious drug offense, or both, committed on occasions different from one

another . . . .” 18 U.S.C. § 924(e)(1). An individual who is found to be an armed

career criminal is subject to a mandatory minimum sentence of not less than fifteen

years in custody. Id. A violent felony is “any crime punishable by imprisonment for a

term exceeding one year, or any act of juvenile delinquency involving the use or

carrying of a firearm, knife, or destructive device that would be punishable by

imprisonment for such term if committed by an adult that has as an element the use,

attempted use, or threatened use of physical force against the person of another.” 18

U.S.C. § 924(e)(2)(B)(i). Futher, “the term conviction includes a finding that a person

has committed an act of juvenile delinquency involving a violent felony.” 18 U.S.C. §
Case 2:19-cr-20259-DML-DRG ECF No. 139, PageID.921 Filed 06/01/21 Page 3 of 6




924(e)(2)(C). “[T]he use of procedurally sound juvenile adjudications as ACCA

predicates does not violate due process.” United States v. Crowell, 493 F.3d 744, 750

(6th Cir. 2007).

      [T]o trigger a sentence enhancement under the ACCA, a defendant’s prior

felony convictions must involve separate criminal episodes.” United States v. Martin,

526 F.3d 926, 938 (6th Cir. 2008) (citations omitted). “[O]fenses are considered

distinct criminal episodes if they ‘occurred on occasions different from one another.’”

Id. (quoting United States v. Roach, 958 F.2d 679, 684 (6th Cir. 1992)). “Two offenses

are committed on occasions different from one another if it is possible to discern the

point at which the first offense is completed and the second offense begins.” Id.

(citations omitted). “Furthermore, the relevant factor for determining the number of

predicate offenses under the ACCA is not the date of conviction for those predicate

offenses, but the date that the defendant committed the offense for which he is

subsequently convicted.” Id. at 939. In Martin, the Sixth Circuit found that the

defendant’s four felony drug convictions arose from separate criminal episodes as they

occurred several days apart. The Court determined that it was irrelevant that the

“offenses were charged in one indictment and consolidated for plea purposes” and

irrelevant that the “sentences on these convictions ran concurrently.” Id. at 940.
Case 2:19-cr-20259-DML-DRG ECF No. 139, PageID.922 Filed 06/01/21 Page 4 of 6




   III.   ARGUMENT

      In this case, the defendant has been convicted of at least three predicate violent

felonies for purposes of the ACCA. In aruguing otherwise, the defendant relies upon

U.S. Sent’g Guidelines Manual §4A1.2. However, this section applies to the

computation of a defendant’s criminal history and not the determination as to whether

a defendant is an Armed Career Criminal. Instead, §4B1.4 governs this analysis. The

commentary to §4B1.4 is clear that the time periods for the counting of prior sentences

under §4A1.2 are not “applicable to the determination of whether a defendant is

subject to an enhanced sentence under 18 U.S.C. § 924(e).” U.S. Sent’g Guidelines

Manual § 4B1.4, application note 1. §4B1.4 is consistent with 18 U.S.C. § 924(e) in

that there are no date restrictions on the juvenile convictions that can be used as valid

ACCA predicates.

      Here, the defendant’s relevant juvenile adjucications resulted from criminal acts

that occurred on three separate dates: January 16, 1994, January 20, 1994, and January

27, 1994. (PSR, ¶¶ 36-38). In addition, these were distinct crimes that involved three

individual victims. Id. Pursuant to Martin, it is irrelevant that the defendant was

sentenced for these offenses on the same date. The Presentence Report states that

“predicate convictions are treated as separate if they were ‘committed on occasions

different from one another’ regardless of whether they were consolidated for trial or
Case 2:19-cr-20259-DML-DRG ECF No. 139, PageID.923 Filed 06/01/21 Page 5 of 6




sentencing.” (PSR ¶ 22). The Presentence Report accurately describes law law

pertaining to ACCA predicates.

   IV.   Conclusion

      The arguments raised by the defendant have no legal merit. The information in

the Presentence Report accurately describes the law pertaining to ACCA predicate

convictions and the motion should be denied.

                                           Respectfully submitted,
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Dated: June 1, 2021
Case 2:19-cr-20259-DML-DRG ECF No. 139, PageID.924 Filed 06/01/21 Page 6 of 6




                             Certificate of Service

      I hereby certify that on June 1, 2021, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system. I further

certify that I have arranged to mail by United States Postal Service the

document to the following non-CM/ECF participant:

                         Gemar Kinte Morgan
                          Reg No. 40722-039
                FEDERAL CORRECTIONAL INSTITUTION
                           P.O. BOX 1000
                          MILAN, MI 48160


                                            /s/ Robert W. VanWert
                                            Assistant United States Attorney
